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submitting declarations in support of Fusion GPS’s opposition to the government’s motion to

compel, and presenting argument as appropriate to aid the Court in deciding the government’s

motion to compel.

      WHEREFORE, for the foregoing reasons and for any other reasons just and equitable, HFA

respectfully requests that the Court allow it to intervene as an interested non-party.

Dated: April 18, 2022


                                                      Respectfully submitted,

                                                      /s/ Robert P. Trout
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